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                  EXHIBIT 3
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                                           EXHIBIT 3

                                                                                DESIGNATED
                                                      CLASS MEMBER
   ECF NO.             CLASS MEMBER1                                              STUDENT-
                                                         STATUS
                                                                                  ATHLETE2
 574             Jayden Jevnick                   Current Athlete             Yes
 575             Kevn Cunneen Jr.                 Son is a Current Athlete    Yes
 579, 628-3      John Weidenbach                  Current Athlete             Yes
 594, 916        Keaton Rice                      Current Athlete             Yes
 597, 681        Camden Dempsey                   Current Athlete             Yes
 602             Emma Reathaford                  Current Athlete             Yes
 606             Blaine T. Mynatt                 Daughter is a Current       Yes
                                                  Athlete
 607             William Woodall                  Current Athlete             Yes
 608, 661,       Gannon Flynn                     Current Athlete             Yes
 892
 610             Megan and Kevin Lang             Daughter is a Current       Yes
                                                  Athlete
 611             Miles Ward                       Current Athlete             Yes
 613-1           Ezekiel Larry                    Current Athlete             Yes
 613-1           Dyson McCutcheon                 Current Athlete             Yes
 620             Gerry Goldstein                  Sons are Current            Yes
                                                  Athletes
 626             Seth Cannon                      Current Athlete             Yes
 628-3           Rachel Wheatley                  Current Athlete             Yes
 628-3, 742,     Lance Hollingshead               Current Athlete             Yes
 753
 628-5           Cameron Abaqueta                 Current Athlete             Yes
 628-5           Julie Addison                    Current Athlete             Yes
 628-5           Zoe Arakelian                    Current Athlete             Yes
 628-5, 836      Ryann Aycock                     Current Athlete             Yes
 628-5           Melinda Aznar Klein              Incoming Athlete Fall       Yes
                                                  2025

   1
      This chart encompasses all Objectors who are Current Injunctive Relief Settlement Class
Members or are entering athletes for the 2025-2026 Academic Year who asserted they were
previously promised a roster spot in their submission. Several objections or letters were filed by
anonymous athletes or parents. The revisions to the Settlement Agreement address their concerns
as well. Please note that Objector Reathaford is a Designated Student Athlete.
    2
      “Designated Student-Athlete” is defined in the Second Amended Injunctive Relief
Settlement Section 1(j) submitted concurrently herewith. Schools will prepare lists of Designated
Student Athletes, but it is Class Counsel’s perspective that everyone listed in this Exhibit appears
to be a Designated Student Athlete based on assertions in their submission. If an athlete attends a
non-Conference Defendant Member Institution that does not opt in to the Pool Structure then that
athlete will not be subject to the roster limits at all.


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                                                                         DESIGNATED
                                                 CLASS MEMBER
 ECF NO.             CLASS MEMBER1                                         STUDENT-
                                                    STATUS
                                                                           ATHLETE2
628-5           Will Benoit                  Current Athlete           Yes
628-5           Corey Berry                  Current Athlete           Yes
628-5           Carly Bixby                  Current Athlete           Yes
628-5, 819,     Adam Boeheim                 Current Athlete           Yes
830
628-5           Carmel Bollag                Current Athlete           Yes
628-5, 722,     Wyatt Carlton                Current Athlete           Yes
741-2, 843
628-5, 879      Grace Chelberg               Current Athlete           Yes
628-5           Nicholas Ciocca              Current Athlete           Yes
628-5           Boden Clark                  Current Athlete           Yes
628-5           Kayla Coates-Robertson       Current Athlete           Yes
628-5           Lila Connor                  Incoming Athlete Fall     Yes
                                             2025
628-5           Kaitlyn Conover-Emmert       Current Athlete           Yes
628-5           Mina Cook                    Current Athlete           Yes
628-5           Griffin Craig                Current Athlete           Yes
628-5           Audrey Cronin                Current Athlete           Yes
628-5           Emma Cronin                  Current Athlete           Yes
628-5, 741-2,   Trey Cunneen                 Current Athlete           Yes
824
628-5           Kiersten Dagg                Current Athlete           Yes
628-5, 741-2    Landon D’Ariano              Current Athlete           Yes
628-5           Micah Davis                  Current Athlete           Yes
628-5           Julia Dean                   Current Athlete           Yes
628-5           Maeve DeYoung                Current Athlete           Yes
628-5           Alyssa Dittoe                Current Athlete           Yes
628-5           Jenna Doolen                 Incoming Athlete Fall     Yes
                                             2025
628-5           Sarah Dunham                 Current Athlete           Yes
628-5           Thor Dyke                    Current Athlete           Yes
628-5, 914      Emily Ellis                  Current Athlete           Yes
628-5           Emma Ervi                    Current Athlete           Yes
628-5, 881      Adelyn Fairley               Current Athlete           Yes
628-5, 741-3    Anakin Fischer               Current Athlete           Yes
628-5           Carly Frank                  Current Athlete           Yes
628-5           Jordan Freer                 Current Athlete           Yes
628-5           Julia J. Gehrig              Current Athlete           Yes
628-5           Daniel Gordon                Current Athlete           Yes
628-5           Alexandria Grasso            Current Athlete           Yes
628-5           Ella Hansen                  Current Athlete           Yes


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                                                                       DESIGNATED
                                               CLASS MEMBER
 ECF NO.            CLASS MEMBER1                                        STUDENT-
                                                  STATUS
                                                                         ATHLETE2
628-5          David Hatt                  Current Athlete           Yes
628-5          Olivia Hay                  Current Athlete           Yes
628-5, 741-3   Anna Heck                   Current Athlete           Yes
628-5          Sophia Heilen               Current Athlete           Yes
628-5          Alayna Henage               Current Athlete           Yes
628-5, 741-2   Avery Henke                 Current Athlete           Yes
628-5          Victoria Henkel             Current Athlete           Yes
628-5          Abigail Hood                Current Athlete           Yes
628-5          Eleanor Hughes              Current Athlete           Yes
628-5          John Ingram                 Current Athlete           Yes
628-5          Taylor Inouye               Current Athlete           Yes
628-5          Emelia Jordan               Current Athlete           Yes
628-5          Lindsay Juhlin              Current Athlete           Yes
628-5          Brianna Kappeler            Current Athlete           Yes
628-5          Kelsey Katt                 Current Athlete           Yes
628-5          Evan Keogh                  Current Athlete           Yes
628-5, 741-2   Calissa Kissinger           Current Athlete           Yes
628-5, 741-2   Amadeusz Knop               Current Athlete           Yes
628-5          Ellen Natalia Koselka       Current Athlete           Yes
628-5          James Kotowski              Current Athlete           Yes
628-5          Leo Kurucz                  Current Athlete           Yes
628-5          Nick Laffey                 Current Athlete           Yes
628-5          Carly Lauritzen             Current Athlete           Yes
628-5          Caroline Law                Current Athlete           Yes
628-5, 741-2   Isaac Lee                   Current Athlete           Yes
628-5          Megan Lee                   Current Athlete           Yes
628-5          Alana Lei Lin Uehara        Current Athlete           Yes
628-5          Macey Lewis                 Current Athlete           Yes
628-5, 741-2   Landon Lloyd                Current Athlete           Yes
628-5          Benjamin Long               Current Athlete           Yes
628-5          Kathryn Long                Current Athlete           Yes
628-5          Jackson MacKinnon           Current Athlete           Yes
628-5, 917     Madeleine MacNeille         Current Athlete           Yes
628-5          Tristan Martinez            Current Athlete           Yes
628-5          Marin Maycotte              Current Athlete           Yes
628-5, 935     Raini Mayo                  Current Athlete           Yes
628-5          Cassidy McArthur            Current Athlete           Yes
628-5          Grace McCardle              Current Athlete           Yes
628-5          Perry McLoughlin            Current Athlete           Yes
628-5          Faith Meyer                 Current Athlete           Yes



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                                                                      DESIGNATED
                                              CLASS MEMBER
 ECF NO.            CLASS MEMBER1                                       STUDENT-
                                                 STATUS
                                                                        ATHLETE2
628-5          Isabel Michaelson          Current Athlete           Yes
628-5          Reid Miller                Current Athlete           Yes
628-5          Jacob Modleski             Current Athlete           Yes
628-5          Kalee Verd                 Current Athlete           Yes
628-5          Jackson Mueller            Current Athlete           Yes
628-5          Leah Nash                  Current Athlete           Yes
628-5          Joshua Noll                Current Athlete           Yes
628-5          Grayson Nye                Current Athlete           Yes
628-5          Liv Ormseth                Current Athlete           Yes
628-5          Veronika Owen              Current Athlete           Yes
628-5          Sophia Park                Current Athlete           Yes
628-5          Elizabeth Perry            Current Athlete           Yes
628-5          Alessandro Perez           Current Athlete           Yes
628-5          Faith Perry                Current Athlete           Yes
628-5          Matthew Prigmore           Current Athlete           Yes
628-5          Nathan Quarterman          Current Athlete           Yes
628-5          Tyler Quarterman           Current Athlete           Yes
628-5          Harrison Ranier            Current Athlete           Yes
628-5          Samantha Rietbroek         Current Athlete           Yes
628-5          Jake Rimmel                Current Athlete           Yes
628-5, 741-2   Addyson Roberts            Current Athlete           Yes
628-5          Sarah Ross                 Current Athlete           Yes
628-5          Megan Rourke               Current Athlete           Yes
628-5          Ella Ryter                 Current Athlete           Yes
628-5, 741-2   Alex Schwartz              Current Athlete           Yes
628-5          Julia Seeley               Current Athlete           Yes
628-5, 873     Brody Singley              Incoming Athlete Fall     Yes
                                          2025
628-5          Jake Sisk                  Current Athlete           Yes
628-5          Mckenna Ann Smith          Incoming Athlete Fall     Yes
                                          2025
628-5          Ryan Smith                 Current Athlete           Yes
628-5          Avery Stein                Current Athlete           Yes
628-5          Luke Stelmach              Current Athlete           Yes
628-5          Katherine Stevenson        Current Athlete           Yes
628-5          Sydney Stewart             Current Athlete           Yes
628-5          Tristan Stine              Incoming Athlete Fall     Yes
                                          2025
628-5, 741-2   Aleena Stukus              Current Athlete           Yes
628-5          Chloe Swatts               Current Athlete           Yes



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                                                                          DESIGNATED
                                                  CLASS MEMBER
 ECF NO.            CLASS MEMBER1                                           STUDENT-
                                                     STATUS
                                                                            ATHLETE2
628-5         Abhay Tharakan                 Incoming Athlete Fall      Yes
                                             2025
628-5, 913    Mary Kate Walker               Current Athlete            Yes
628-5         Margaret Ward                  Current Athlete            Yes
628-5         Emma Waters                    Current Athlete            Yes
628-5         Caroline Wazac                 Incoming Athlete Fall      Yes
                                             2025
628-5         Anzley Wevodau                 Current Athlete            Yes
628-5         Ryan Williams                  Current Athlete            Yes
628-5         Carson Wright                  Current Athlete            Yes
628-5         Margaret Young                 Current Athlete            Yes
628-5         Jessica Zealand                Current Athlete            Yes
663, 741-2    Aiden Siers                    Current Athlete            Yes
666, 890      Gracelyn Laudermilch           Incoming Athlete Fall      Yes
                                             2025
667           Kimberly McCardle              Current Athlete            Yes

698           Lucy Schmeil                   Current Athlete            Yes
700           Colin Parker                   Current Athlete            Yes
701           Corbin Null                    Current Athlete            Yes
715, 716      Brent and Elizabeth Friend     Son is a Current Athlete   Yes
726, 857      Mary Ellen Androsky            2 Children - Current       Yes
                                             Athletes
727, 905      Jessica and Bradley Sarratt    Current Athlete            Yes
740           Madeline Berg                  Current Athlete            Yes
740           Emma Lykins                    Current Athlete            Yes
741-2         Seth Alexander Cannon          Current Athlete            Yes
741-4         Celia Bidwell                  Current Athlete            Yes
741-4         Easton Bonnett                 Current Athlete            Yes
741-4         Truman Breithaupt              Current Athlete            Yes
741-4         Clement Camacho                Incoming Athlete Fall      Yes
                                             2025
741-4         Simon Casey                    Current Athlete            Yes
741-4, 874    Jack Dunbar                    Current Athlete            Yes
741-4         Anna Fletcher                  Current Athlete            Yes
741-4, 878    Brody Friend                   Current Athlete            Yes
741-4         Evan Giachinta                 Current Athlete            Yes
741-4         Tanner Jones                   Current Athlete            Yes
741-4         Kassidy Kitchel                Current Athlete            Yes
741-4         Isabella Lojewski              Current Athlete            Yes
741-4         Aiden Musick                   Current Athlete            Yes


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                                                                        DESIGNATED
                                                CLASS MEMBER
 ECF NO.           CLASS MEMBER1                                          STUDENT-
                                                   STATUS
                                                                          ATHLETE2
741-4         Drew Shanley                  Current Athlete           Yes
741-4         Noah Smith                    Current Athlete           Yes
741-4, 848    William Cooper Solberg        Incoming Athlete Fall     Yes
                                            2025
741-4         Kayla Walsh                   Current Athlete           Yes
741-4         Mason Williams                Current Athlete           Yes
741-5         Drew Arney                    Current Athlete           Yes
741-5         Ellen Bettencourt             Current Athlete           Yes
741-5         Mitchell Brown                Current Athlete           Yes
741-5         Ava Geronimo                  Current Athlete           Yes
741-5         Ava Goh                       Incoming Athlete Fall     Yes
                                            2025
741-5         Jackson Hall                  Current Athlete           Yes
741-5         Jed Johnson                   Incoming Athlete Fall     Yes
                                            2025
741-5         Austin Lathrop                Current Athlete           Yes
741-5         Madreena Lee                  Current Athlete           Yes
741-5         Abigail Leight                Current Athlete           Yes
741-5         Alena Lotterer                Current Athlete           Yes
741-5         Morgan Manley                 Current Athlete           Yes
741-5         Liam Miller                   Current Athlete           Yes
741-5         Anthony Moskalenko            Current Athlete           Yes
741-5         Jennifer Reiter               Current Athlete           Yes
741-5         Sam Seybold                   Current Athlete           Yes
756           Grayson Sebastian             Incoming Athlete Fall     Yes
                                            2025
761           Connor Tam                    Incoming Athlete Fall     Yes
                                            2025
776           James D. Snay, Jr.            Current Athlete           Yes
778           Ryan Degyansky                Current Athlete           Yes
779           David Havlick                 Daughter is a Current     Yes
                                            Athlete
780           Rowan Sullivan                Current Athlete           Yes
821           Katherine Barber              Incoming Athlete Fall     Yes
                                            2025
823           Mary Lopez                    Son is Current Athlete    Yes
826           Todd Smith                    Son is Current Athlete    Yes
829           Kim Barry Boeheim             Son is Current Athlete    Yes
831           Paul Walker                   Son is Current Athlete    Yes
833           Cameron Grant                 Current Athlete           Yes
835, 872      Sophia Mast                   Current Athlete           Yes


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                                                                     DESIGNATED
                                              CLASS MEMBER
 ECF NO.           CLASS MEMBER1                                       STUDENT-
                                                 STATUS
                                                                       ATHLETE2
837           J.J. Barnes                 Current Athlete          Yes
839           Anna Fletcher               Current Athlete          Yes
841           Caden Weber                 Current Athlete          Yes
842           Nicholas Inglis             Current Athlete          Yes
847           Greyson Moreno              Current Athlete          Yes
849           Mason Braithwaite           Current Athlete          Yes
850           Payton Holtz                Current Athlete          Yes
851           Kyle Gavis                  Current Athlete          Yes
853           Ethan Kitch                 Current Athlete          Yes
854           Camden Dempsey              Current Athlete          Yes
861           Tucker Valliere             Current Athlete          Yes
863           Chandler Buntin             Current Athlete          Yes
864           Kila Keone                  Current Athlete          Yes
866           Kai Djerbaka                Current Athlete          Yes
868           Cash Peterman               Current Athlete          Yes
869           Kyle Garvis                 Current Athlete          Yes
871           Jake Sisk                   Current Athlete          Yes
875           Jessica Faith Cox           Current Athlete          Yes
876           Alex Whitman                Current Athlete          Yes
878           Sam White                   Current Athlete          Yes
880           Rachel Hill                 Current Athlete          Yes
882           Joseph Antoni Douglas       Current Athlete          Yes
883           Carson Wright               Current Athlete          Yes
885           Amy Lathrop                 Parent of two Current    Yes
                                          Athletes
887           Jack Ryan Bowers            Current Athlete         Yes
889           Julia Seeley                Current Athlete         Yes
891           Sophia Park                 Current Athlete         Yes
895           Robert H. Rimmel            Son is Current Athlete  Yes
896           Jake Rimmel                 Current Athlete         Yes
899           Michael Kean                Son is Current Athlete  Yes
900           Mick Brown                  Current Athlete         Yes
902           Mariah Burnett              Current Athlete         Yes
903           Corey Berry                 Current Athlete         Yes
906           Henry Haze                  Current Athlete         Yes
909           James Snay                  Son is Current Athlete  Yes
911           Michael Lillard             Son is Incoming Athlete Yes
                                          Fall 2025
912           Noah Senka                  Current Athlete         Yes
915, 921      Seth Cannon                 Current Athlete         Yes



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                                                                      DESIGNATED
                                             CLASS MEMBER
 ECF NO.         CLASS MEMBER1                                          STUDENT-
                                                STATUS
                                                                        ATHLETE2
917         Cory Graef                   Child is Current Athlete   Yes
918         Samantha Chan                Current Athlete            Yes
924         Robert J. Rimmel             Current Athlete            Yes
925         Reigan O’Quinn               Son is Current Athlete     Yes
927         Mary Burke                   Son is Current Athlete     Yes
928         Kathy Brown                  Son is Current Athlete     Yes
929, 936    Leslie Shanley               Son is Current Athlete     Yes
930         Sydney Cox                   Current Athlete            Yes
931         Joshua M. Jones              Current Athlete            Yes
933         Matt Hymer                   Son is Current Athlete     Yes
934         Easton M. Bonnett            Current Athlete            Yes




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